       Case 4:15-cr-06047-SMJ   ECF No. 75   filed 09/29/21   PageID.510 Page 1 of 3

                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON



1                       UNITED STATES DISTRICT COURT Sep 29, 2021
                       EASTERN DISTRICT OF WASHINGTON SEAN F. M AVOY, CLERK     C

2
     UNITED STATES OF AMERICA,                No. 4:15-cr-6047-SMJ
3
                             Plaintiff,
4                                             ORDER DENYING MOTION FOR
                 v.                           SENTENCE REDUCTION
5
     NANCY BUSH-ESTES,
6
                             Defendant.
7

8          Before the Court, without oral argument, is Defendant Nancy Bush-Estes’s

9    Motion for Sentence Reduction under 18 U.S.C. § 3582(c)(1)(A). ECF No. 74.

10   Defendant seeks compassionate release from home confinement, citing several

11   medical ailments. Having reviewed the relevant record, the Court is fully

12   informed and denies Defendant’s motion with leave to amend.

13                                  BACKGROUND

14         On December 16, 2015, Defendant pleaded guilty to conspiracy to launder

15   monetary instruments in violation of 18 U.S.C. § 1956(h). ECF Nos. 11 & 17.

16   Defendant was sentenced to 73 months’ custody. ECF No. 65. The Bureau of

17   Prisons has apparently released Defendant to home confinement under the

18   Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”), Pub. L.

19   116-136. See ECF No. 72 at 1. This is Defendant’s third motion seeking a

20   sentence reduction. See ECF Nos. 69, 72, & 74.




     ORDER DENYING MOTION FOR SENTENCE REDUCTION - 1
       Case 4:15-cr-06047-SMJ     ECF No. 75    filed 09/29/21    PageID.511 Page 2 of 3




1                                  LEGAL STANDARD

2          The Court’s authority to amend a criminal defendant’s sentence of

3    incarceration, once it has been imposed, is narrow. See 18 U.S.C. § 3582(c) (“The

4    court may not modify a term of imprisonment once it has been imposed except

5    that . . .”). The statutory mechanism under which Defendant seeks early release

6    permits a sentence reduction if the Court finds “extraordinary and compelling

7    reasons warrant” such relief. Id. § 3582(c)(1)(A)(i).

8          The Court may grant such a reduction only upon motion of the Director of

9    the Bureau of Prisons, or upon a motion of a defendant “after the defendant has

10   fully exhausted all administrative rights to appeal a failure of the Bureau of

11   Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from

12   the receipt of such a request by the warden of the defendant’s facility, whichever

13   is earlier.” Id. § 3582(c)(1)(A). Setting aside the issue of Defendant’s eligibility

14   for a sentence reduction under these provisions, Defendant’s motion does not

15   indicate that she has met the statute’s administrative exhaustion requirements, and

16   the Court is therefore unable to consider the request. Id.

17         Defendant presents no other basis on which this Court could grant the

18   requested reduction in her sentence. See 18 U.S.C. § 3582(c)(1)(B) (“[T]he court

19   may modify an imposed term of imprisonment to the extent otherwise expressly

20   permitted by statute or by Rule 35 of the Federal Rules of Criminal Procedure.”).




     ORDER DENYING MOTION FOR SENTENCE REDUCTION - 2
       Case 4:15-cr-06047-SMJ    ECF No. 75    filed 09/29/21   PageID.512 Page 3 of 3




1    Accordingly, the Court finds Defendant is ineligible for a reduction in her

2    sentence, and her motion is therefore denied.

3          Accordingly, IT IS HEREBY ORDERED:

4                Defendant’s Motion for Sentence Reduction under 18 U.S.C. §

5                3582(c)(1)(A), ECF No. 74, is DENIED.

6          IT IS SO ORDERED. The Clerk’s Office is hereby directed to enter this

7    order and furnish copies to counsel.

8          DATED this 28th day of September 2021.

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10                      SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER DENYING MOTION FOR SENTENCE REDUCTION - 3
